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September 12, 2019

VIA ECF

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Hon. David N. Hurd, U.S. District Judge
Alexander Pirnie Federal Bldg. and U.S. Courthouse
10 Broad Street
Utica, New York 13501

Re: NY Immigration Coalition , et al. vy. Rensselaer County Board of Elections, et al.
Civil Case No.: 1:19-cv-00920 DNH/CFH

Dear Judge Hurd:

As this Court is aware, we represent the Rensselaer County Defendants in the above-
referenced matter.

County Defendants write to request a brief adjournment of County Defendants’ time to file
reply papers in further support of their Rule 12(b) motion to dismiss the Complaint. This request
is made in light of the recent voluminous submissions made on opposition by Plaintiffs. If granted,
County Defendants’ reply papers would now be filed on Friday, September 20, 2019. Prior to
making this request, County Defendants conferred with Plaintiffs’ counsel. While Plaintiffs do
not object to the County Defendants’ request for an extension of time to file reply papers by
September 20, 2019, Plaintiffs oppose any request that would delay the currently scheduled
September 27, 2019 hearing date. We thank the Court in advance for any courtesies that it can
extend to County Defendants. Thank you.

Sincerely,

JOHNSON & LAWS, LLC

      

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